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 4
     Attorney for HUGO CHAVEZ DE LA CRUZ
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                  2:10-CR-00413-MCE
 9                                         )
                          Plaintiff,       )                  STIPULATION AND
10                                         )                  ORDER TO CONTINUE
     vs.                                   )                  JUDGMENT AND
11                                         )                  SENTENCE HEARING
                                           )
12   HUGO CHAVEZ DE LA CRUZ,               )                  Date : 1/17/13
                                           )                  Time : 9:00 a.m.
13                        Defendant        )                  Court : Hon. Morrison C. England, Jr.
     _____________________________________ )
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            Defendant Hugo Chávez De la Cruz, through his counsel, Gilbert A. Roque, and the
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     United States of America, through Assistant United States Attorney Paul A. Hemesath, hereby
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     stipulate that the judgment and sentence hearing be continued from November 29, 2012, to
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     January 17, 2013, at 9:00 a.m., before the Honorable Morrison C. England, Jr.
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            The parties stipulate and agree to the continuance because there are sentencing
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     issues that still remain to be resolved, including the need for continued investigation regarding
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     role. Probation Officer Miranda L. Lutke has been advised of and agrees to the continuance.
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                                                Respectfully submitted,
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     DATED: November 20, 2012                   /s/ Gilbert A. Roque
24                                              GILBERT A. ROQUE, Attorney for
                                                HUGO CHAVEZ DE LA CRUZ, Defendant
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     DATED: November 20, 2012                   /s/ Paul A. Hemesath
26                                              PAUL A. HEMESATH
                                                Assistant United States Attorney
27                                              Attorney for Plaintiff
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 1
                                              ORDER
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           The Court, having received, read and considered the stipulation of the parties, and
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     good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
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     order. Based on the stipulation of the parties, the Court finds that the failure to grant a
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     continuance in this case would deny defendant Hugo Chávez De la Cruz’s defense counsel
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     and counsel for Plaintiff reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. The Court specifically finds that the ends of justice
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     served by the granting of such continuance outweigh the interests of the public and orders
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     that the November 29, 2012, judgment and sentence hearing for defendant Hugo Chávez De
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     la Cruz is vacated and shall be continued until January 17, 2013, at 9:00 a.m.
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           IT IS SO ORDERED.
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      Dated: November 27, 2012
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16                                             ______________________________
                                               MORRISON C. ENGLAND, JR.
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                                               UNITED STATES DISTRICT JUDGE
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